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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re
                                                            Chapter 11
Renee Maslikhov aka Renee Butler,
                                                            Case No. 19-42688
         Debtor.
--------------------------------------------------------x
Renee Maslikhov,

        Plaintiff,                                          Adv. Pro. No. 19−01083

-against-

Sergei Maslikhov

                  Defendant.
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  MOTION OF SERGEI MASLIKHOV FOR: (I) ENTRY OF ORDER, PURSUANT TO
     BANKRUPTCY CODE § 363(J) AND NEW YORK LAW, DETERMINING MR.
 MASLIKHOV AND DEBTOR ARE EACH ENTITLED TO ONE-HALF OF SURPLUS
    PROCEEDS OF § 363(H) SALE OF PROPERTY LOCATED AT 328 JEFFERSON
  AVENUE, BROOKLYN, NEW YORK AND DIRECTING DEBTOR TO DISTRIBUTE
     ONE-HALF OF SURPLUS PROCEEDS TO MR. MASLIKHOV; (II) ENTRY OF
   ORDER, PURSUANT TO BANKRUPTCY CODE § 363(E), CONDITIONING ANY
§ 363(H) SALE OF THE PROPERTY ON DEBTOR ADEQUATELY PROTECTING MR.
              MASLIKHOV’S INTERESTS IN SURPLUS PROCEEDS

                 Sergei Maslikhov (“Mr. Maslikhov”), a party in interest in the above-captioned

chapter 11 case (the “Bankruptcy Case”) of Renee Maslikhov (the “Debtor” and together with

Mr. Maslikhov, the “Spouses”) and defendant in the above-captioned adversary proceeding (the

“Adversary Proceeding”), by and through his undersigned counsel, hereby respectfully moves

(this “Motion”) for: (i) entry of an order, pursuant to Bankruptcy Code § 363(j) and New York

law, determining that Mr. Maslikhov and the Debtor are each entitled to one-half of the Surplus

Proceeds (as defined below) of any § 363(h) sale of the property located at 328 Jefferson

Avenue, Brooklyn, New York (the “Property”) and directing the Debtor to distribute one-half of

the Surplus Proceeds to Mr. Maslikhov; (ii) entry of an order, pursuant to Bankruptcy Code §
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363(e), conditioning any § 363(h) sale of the Property on the Debtor adequately protecting Mr.

Maslikhov’s interests in the Surplus Proceeds; (iii) reconsideration of the Court’s bench

conformation of the Debtor’s Second Amended Plan Of Reorganization (the “Plan”) to the extent

the Plan violates the requirements of Bankruptcy Code § 363(j) and impairs Mr. Maslikhov’s

interests in the Surplus Proceeds, and in support thereof, respectfully represents as follows:

                                 PRELIMINARY STATEMENT

       1.      The Debtor and Mr. Maslikhov own the Property as tenants-by-entirety. This

Court has entered an order authorizing the Debtor to sell the Property pursuant to Bankruptcy

Code § 363(h) and indicated from the bench that it will confirm the Plan which is premised on

that sale. The Parties anticipate that, after satisfying all liens on the Property and paying the costs

and expenses of the sale, there will be significant surplus proceeds available for distribution (the

“Surplus Proceeds”). By this Motion, Mr. Maslikhov is not opposing the Debtor’s proposed

363(h) sale of the Property. He also is not opposing distribution of the sale proceeds to pay the

allowed claims of secured creditors or the costs and expenses of the sale. Mr. Maslikhov does,

however, strongly oppose the entirely of the Surplus Proceeds being distributed to the Debtor’s

estate and being used to pay her unsecured debts and the administrative expenses.

       2.      Bankruptcy Code § 363(j) requires that, after a § 363(h) sale of the Property

closes, the Surplus Proceeds must be distributed to Mr. Maslikhov and to the Debtor’s estate in

accordance with their respective interests in the Property. Mr. Maslikhov respectfully submits

that, because his tenancy-by-entirety interests are being terminated by a sale ordered by this

Court—and not by a decree of a divorce court—it is necessary and appropriate for this Court to

determine his and the Debtor’s respective interests in the Surplus Proceeds. Under New York

law, where a tenancy-by-entirety is terminated by a sale (and not by a divorce settlement or



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decree), each Spouse is entitled one-half of the sale proceeds. Accordingly, under Bankruptcy

Code § 363(j), the Debtor must distribute one-half of the Surplus Proceeds to Mr. Maslikhov.

       3.      Notwithstanding the clear requirements of Bankruptcy Code § 363(j), the Debtor

is proposing, under her Plan, to distribute all of Surplus Proceeds to her own bankruptcy estate,

and to use the entirety of the Surplus Proceeds—including those in which Mr. Maslikhov holds

interests—to pay her own unsecured debts and administrative expenses. On its face, the Plan

clearly violates Bankruptcy Code § 363(j) and impairs Mr. Maslikhov’s interests in the Property.

It should not be confirmed as currently drafted.

       4.      By this Motion, the Mr. Maslikhov respectfully request that the Court (i)

determine that Mr. Maslikhov and the Debtor are each entitled to one-half of the Surplus

Proceeds, (ii) direct the Debtor to distribute one-half of the Surplus Proceeds to Mr. Maslikhov.

In the alternative, Mr. Maslikhov’s respectfully requests that, to adequately protect Mr.

Maslikhov’s interests in the Surplus Proceeds, the Court enter an order, pursuant to Bankruptcy

Code § 363(e), directing that the entire Surplus Proceeds be held in escrow pending that

determination by this Court or a New York court of the Mr. Maslikhov’s and the Debtor’s

respective interests in the Surplus Proceeds.

                         JURISDICTION AND BASES FOR RELIEF

       5.      This Court has jurisdiction to consider this Application pursuant to 28U.S.C. §§

157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue of this

proceeding is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

       6.      The bases for the relief sought in this Motion are Bankruptcy Code §§105(a),

363(e), 363(j), and 1129.




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                                        BACKGROUND

       7.      The Debtor and Maslikhov are wife and husband and have owned the Property as

tenants-by-entirety for more than thirteen (13) years. Attached hereto as Exhibit A is a true and

correct copy of their deed to the property.

       8.      On May 1, 2019 (the “Petition Date”) the Debtor commenced this Bankruptcy

Case. On June 18, 2019, the Debtor commenced the Adversary Proceeding, seeking authority to

sell the Property pursuant to Bankruptcy Code § 363(h).

       9.      On September 17, 2019, the Debtor filed a plan of reorganization premised on a

Bankruptcy Code § 363(h) sale of the Property.

       10.     On October 7, 2019, the Court entered an order authorizing the Debtor to sell the

Property pursuant to Bankruptcy Code § 363(h).

       11.     On October 16, 2019, the Court conducted a hearing on confirmation of the

Debtor’s Plan and indicated, from the bench, that it would confirm the Plan.

       12.     Throughout these proceedings, Mr. Maslikhov was representing himself pro se.

       13.     On October 22, 2019, Mr. Maslikhov retained the Law Offices of Jeremy S.

Sussman to represent him in connection with the Bankruptcy Case.

       14.     Upon reviewing the Plan, counsel to Mr. Maslikhov discovered that,

notwithstanding the clear requirements of Bankruptcy Code § 363(j) and the fact that neither this

Court nor the Divorce Court has determined how the Surplus Proceeds should be apportioned

between the Spouses, the Debtor plans to distribute the entire Surplus Proceeds (including those

belong to the Mr. Maslikhov) to the Debtor’s estate, and to use those proceeds to pay the

Debtor’s unsecured debts and administrative expenses.




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         15.     After discussing the Plan with Mr. Maslikhov, counsel to Mr. Maslikhov

  concluded that Mr. Maslikhov had little understanding of the Plan or the significance of the

  confirmation hearing.

         16.     On October 23, 2019, counsel to Mr. Maslikhov provided counsel to the Debtor

  with proposed changes to the form of confirmation.

                                        RELIEF REQUESTED

I.       Entry of Order, Pursuant to Bankruptcy Code § 363(j) and New York Law, (i)
         Determining that Mr. Maslikhov and the Debtor are Each Entitled to One-Half of
         the Surplus Proceeds of any § 363(h) Sale of the Property, and (ii) Directing Debtor
         to Distribute One-Half of Surplus Proceeds Sale Proceeds to Mr. Maslikhov

         17.     Pursuant to Bankruptcy Code § 363(h), a trustee “may sell both the estate’s

  interest, under subsection (b) or (c) of this section, and the interest of any co-owner in property

  in which the debtor had, at the time of the commencement of the case, an undivided interest as . .

  . tenant by the entirety.” 11 U.S.C. § 363(h). Pursuant to Bankruptcy Code § 363(j), after a sale

  of property under § 363(h), the “trustee shall distribute to the debtor’s spouse . . . and to the

  estate, the proceeds of such sale, less the costs and expenses, not including any compensation of

  the trustee, of such sale, according to the interests of such spouse . . . and of the estate. 11

  U.S.C. § 363(j) (emphasis added). 11 U.S.C. § 363(j). In a chapter 11 case, a debtor-in-

  possession acts as trustee for its own estate. Accordingly, where a chapter 11 debtor is

  authorized to conduct a 363(h) sale of its property, it must distribute a portion of the net sale

  proceeds to its non-debtor spouse (in accordance with such non-debtor’s interests in the

  property)—and may only distribute to its estate that portion of the sale proceeds which equals the

  debtor’s interests in the property.

         18.     Here, the Debtor and Mr. Maslikhov own the Property as tenants-by-entirety, and

  the Court has entered an order authorizing the Debtor to sell the Property pursuant to Bankruptcy


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Code § 363(h). The parties anticipate that, after satisfying all liens on the property and paying

the costs and expenses of the sale, there will be significant Surplus Sale Proceeds available for

distribution. Accordingly, to comply with the Bankruptcy Code’s § 363(j) requirements for a §

363(h) sale, the Debtor must distribute to Mr. Maslikhov a portion of the Surplus Sale Proceeds

equal to Mr. Maslikhov’s interests in the Property. Moreover, pursuant to Bankruptcy Code §

363(j), that Debtor can only distribute to her estate, and use to pay her unsecured debts and

administrative expenses, that portion of the Surplus Proceeds that is equals the Debtor’s interests

in the Property.

       19.     Mr. Maslikhov’s and the Debtor’s respective interests in the Property are

determined by New York law because the Property is located in New York. See Butner v. United

States, 440 U.S. 48 (1979). Under New York law, tenants by the entirety have the “right to the

use of an undivided half of the property during the joint lives of a husband and wife and a

survivorship right to the entire fee. Each tenant by the entirety is said to be seized of the whole

estate.” Community Nat'l Bank and Trust Co. of New York v. Persky (In re Persky), 893 F.2d 15,

19 (2d Cir.1989).

       20.     Under New York law, a tenancy-by-entirety can be terminated be a divorce

settlement or decree, in which case the spouses’ respective interests in the property are

determined by such settlement or decree. Under New York law, a tenancy-by-entirety is also

terminated by any sale of property, because New York does not recognize a tenancy-by-entirety

in any class of assets other than real property.

       21.     Under New York law, when a tenancy-by-entirety is terminated by a sale,

husband and wife are each entitled to one-half of the sale proceeds, even if one spouse

contributed the entire purchase price. “[B]ecause their respective interests are the same and equal



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   during their joint lives as husband and wife, each is entitled to an equal share in the consideration

   given for the deed and entitled to one-half of the proceeds of the sale of the real property. See

   Secrist v. Secrist, 284 A.D. 331, 334, 132 N.Y.S.2d 412, 415 (N.Y.App. Div. 4th Dep't 1954),

   aff'd, *588 308 N.Y. 750, 125 N.E.2d 107 (N.Y.1955) (holding that wife was entitled to one-half

   of the proceeds of sale even though the husband contributed the entire purchase amount). See

   also Popky v. United States, 419 F.3d 242, 243 (3d Cir. 2005) (holding each spouse entitled to

   50% of proceeds of sale of property held by tenancy by entirety); In Re Levinson, 372 B.R. 582

   (Bankr. E.D.N.Y. 2007) (holding debtor and non-debtor spouse each have 50% interest in

   property held as tenancy-by-entirety); In re Ignasiak, 22 B.R. 828 (Bankr. E.D. Mich. 1982); In

   re Blair, 151 B.R. 849 (S.D. Ohio 1992).

          22.     Here, the Spouses’ tenancy-by-entirety is being terminated by the 363(h) sale, and

   not by a divorce settlement or decree. Accordingly, under New York law, the Spouses respective

   interest in the Surplus Proceeds should be determined by their interests in the Property

   immediately prior to the sale (and not by any future divorce settlement or decree). Under New

   York law, because the Spouses hold that Property as tenants-by-entirety, Mr. Maslikhov and the

   Debtor should be entitled to one-half of the Surplus Proceed upon any sale of the Property.

   Accordingly, Mr. Maslikhov respectfully requests that the Court enter and order (i) determining

   that Mr. Maslikhov and the Debtor are each entitle to one-half of the Sale Proceeds, and (ii)

   directing the Debtor to distribute one-half of the Surplus Sale Proceeds to Mr. Maslikhov

   immediately following the close of the sale.

II.       Entry of an Order, Pursuant to Bankruptcy Code § 363(E), Conditioning Any §
          363(H) Sale of the Property on the Debtor Adequately Protecting Mr. Maslikhov’s
          Interests in the Surplus Proceeds

          23.     Bankruptcy Code § 363(e) provides that “Notwithstanding any other provision of

   this section, at any time, on request of an entity that has an interest in property used, sold, or

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leased, or proposed to be used, sold, or leased, by the trustee, the court, with or without a

hearing, shall prohibit or condition such use, sale, or lease as is necessary to provide adequate

protection of such interest.” 11 U.S.C. § 363(e). Here, it is undisputed that Mr. Maslikhov holds

a tenancy-by-entirety interest in the Property. Mr. Maslikhov hereby respectfully requests that

any section 363(h) sale of the Property be conditions on his interests in the Property and resulting

Surplus Proceeds being adequately protected.

       24.     Notwithstanding Mr. Maslikhov’s interests in the Property and the Surplus

Proceeds, and the requirements of Bankruptcy Code § 363(j), the Debtor is proposing under the

Plan to distribute the entire Surplus Proceeds to the Debtor’s estate, and to use the Surplus

Proceeds to pay the Debtor’s individual unsecured debts and administrative expenses. The

Debtor is further proposes that after the Debtor’s unsecured debts and administrative expenses

have been paid by the entirety of the Surplus Proceeds, any remaining funds be held by the

Debtor’s attorney pending a determination by this Court or the Divorce Court of how such

remaining funds should be distributed. This scheme puts the cart before the horse, and clearly

impairs Mr. Maslikhov interests in the Surplus Proceeds because it would use the Surplus

Proceeds to pay the Debtor’s debts before there has been a determination by the this Court or the

Divorce Court as to whether the Surplus Proceeds are property of the Debtor’s estate, and to

what extent.

       25.     Mr. Maslikhov’s respectfully requests that, to adequately protect his interests in

the Surplus Proceeds, the Court enter an order, pursuant to Bankruptcy Code § 363(e), directing

that the entire Surplus Proceeds be held in escrow pending entry of a final order determining the

Spouses’ respective interests in the Surplus Proceeds by this Court or a New York court, and




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prohibiting the Debtor from distributing or using the Surplus Proceeds until such final order is

entered.

                                             NOTICE

        26.    Notice of the Motion shall be provided to (i) the Debtor, (ii) the United States

Trustee, and (iii) parties who have filed notices of appearance in the Bankruptcy Case. Movant

respectfully submits that such notice is reasonable under the circumstance, and no further notice

is required.

                                     NO PRIOR REQUEST

        27.    No prior request for the relief sought herein has been made to this Court or any

other court.

               WHEREFORE, Mr. Maslikhov respectfully requests that the Court (i) enter of an

order, pursuant to Bankruptcy Code § 363(j) and New York law, determining that Mr. Maslikhov

and the Debtor are each entitled to one-half of the Surplus Proceeds of any § 363(h) sale of the

Property and directing the Debtor to distribute one-half of the Surplus Proceeds to Mr.

Maslikhov; (ii) enter an order, pursuant to Bankruptcy Code § 363(e), providing Mr. Maslikhov

with adequate protection for his interests in the Surplus Proceeds; and (iii) granting Mr.

Maslikhov such other relief as is just.

 Dated: New York, NY
        October 24, 2019

                                            THE LAW OFFICE OF JEREMY S. SUSSMAN

                                            By: /s/ Jeremy S. Sussman
                                               Jeremy S. Sussman
                                               225 Broadway, 38th Floor
                                               New York, NY 10007

                                            Counsel to Sergei Maslikhov


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                               Exhibit A
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